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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                   :
        MADISON M. LARA, et al.,
                                                   :
                Plaintiffs,                        :
        v.                                         : Civil Action No. 2:20-cv-01582
                                                   :
        COL. ROBERT EVANCHICK,                     :
        Commissioner of Pennsylvania State         :
        Police,                                    :
                                                   :
                                                   :
                Defendant.

                                        PROPOSED ORDER

        AND NOW, this ____ day of ________________, 2024, upon consideration of Plaintiffs’

Unopposed Motion to Stay Deadline to File Fee Petition under Fed. R. Civ. P. 54, IT IS

HEREBY ORDERED that said Motion is GRANTED. ACCORDINGLY, the deadline to file

a petition for attorneys’ fees is stayed and the parties shall confer and propose a briefing schedule

on any fee petition within 30 days after (i) the Supreme Court renders a decision in this case, if it

grants certiorari; (ii) the Supreme Court denies certiorari; or (iii) the time for filing a petition for

certiorari passes if the State declines to seek certiorari.

                                                                BY THE COURT:



                                                                ______________________________
                                                                Hon. William S. Stickman IV
                                                                United States District Judge
